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1    QUIN DENVIR, Bar #49374
     Federal Defender
2    RACHELLE BARBOUR, Bar #185395
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone (916) 498-5700
5    Attorney for Defendant
     CARRIE MARIE SULAK
6
7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,    )
                                  )       Case No. CR.S-04-218-MCE
12                  Plaintiff,    )
                                  )       STIPULATION AND [PROPOSED] ORDER
13             v.                 )
                                  )       DATE: July 26, 2005
14   CARRIE MARIE SULAK,          )       TIME: 8:30 a.m.
                                  )       JUDGE: Hon. Morrison C. England, Jr.
15                  Defendant.    )
                                  )
16   ____________________________ )
17
18        It is hereby stipulated and agreed to between the United States of
19   America through PHIL FERRARI, Assistant U.S. Attorney, and defendant,
20   CARRIE MARIE SULAK, by and though her counsel, RACHELLE BARBOUR,
21   Assistant Federal Defender, that the status conference of June 7, 2005
22   at 8:30 a.m. be vacated and that a further status conference be set for
23   July 26, 2005 at 8:30 a.m.
24        This continuance is being requested because parties are
25   negotiating a plea agreement and need time to reduce it to writing and
26   provide it to the Court.    Defense counsel needs time to discuss the
27   plea with the prosecutor and with Ms. Sulak.        Further, defense counsel
28   will be going on maternity leave in June, and Supervising Assistant
             Case 2:04-cr-00218-MCE Document 56 Filed 06/08/05 Page 2 of 2


1    Federal Defender, Dennis S. Waks will be taking over this case and
2    needs more time to review the file and familiarize himself with this
3    case.
4            Speedy trial time is to be excluded from the date of this order
5    through the date of the status conference set for July 26, 2005,
6    pursuant to 18 U.S.C. §§ 3161 (h)(8)(B)(iv) [reasonable time to
7    prepare] (Local Code T4).
8    DATED: June 9, 2005.               Respectfully submitted,
9                                       QUIN DENVIR
                                        Federal Defender
10
                                        /s/ Rachelle Barbour
11
                                        RACHELLE BARBOUR
12                                      Assistant Federal Defender
                                        Attorney for Defendant
13                                      CARRIE MARIE SULAK
14
15                                      McGREGOR W. SCOTT
                                        United States Attorney
16
17
                                        /s/ Rachelle Barbour for Phil Ferrari
18   DATED: June 9, 2005.
                                        PHIL FERRARI
19                                      Assistant U.S. Attorney
20
                                         O R D E R
21
          IT IS SO ORDERED.
22
23   DATED: June 7, 2005.
24
25
                                            ___________________________________
26                                          MORRISON C. ENGLAND, JR
27                                          UNITED STATES DISTRICT JUDGE

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